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U.S. Department of Justice

United States Attorney Criminal Division

District of New Jersey Money Laundering and Asset
Recovery Section

970 Broad Street, 7th floor Bond Building

Newark, New Jersey 07102 1400 New York Ave, NW

Washington, D.C. 20005

October 10, 2024

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Re: United States v. TD Bank, N.A.

PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(C) of the Federal Ruies of Criminal Procedure, the United States

of America, by and through the Department of Justice, Criminal Division, Money Laundering and
Asset Recovery Section (“MLARS”), and the United States Attorney’s Office for the District of
New Jersey (“the USAO-DNJ”) (collectively the “Offices”), and the Defendant, TD BANK, N.A.
(the “Defendant,” “TDBNA,” or the “Bank”), by and through its undersigned attorneys, and
through its authorized representative, pursuant to authority granted by the Defendant’s Board of
Directors, hereby submit and enter into this plea agreement (the “Agreement”). The Toronto-
Dominion Bank (“TD Bank Greup”), the Defendant’s global parent company, and TD Group US

Holdings LLC (“TDGUS”), the intermediate holding company and U.S. parent, which are not
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defendants in this matter, also agree, pursuant to the authority granted by their Boards of Directors,
to certain terms and obligations of the Agreement as described below. TD Bank U.S. Holding
Company (“TDBUSH”), the Defendant’s direct parent, is concurrently entering a guilty plea
pursuant to authority granted by its Board of Directors. The Defendant, its parents, and all TD
Bank Group’s subsidiaries, affiliates, and operations are collectively referred to as “TD ” or the
Group. The terms and conditions of this Agreement are as follows:

Term of the Defendant’s Obligations Under the Agreement

I. Except as otherwise provided in Paragraph 10 below regarding the Defendant’s
cooperation obligations, the Defendant’s obligations under the Agreement shall last and be
effective for a period beginning on the date on which the Information is filed and ending five years
from the jater of the date on which the Information is filed or the independent compliance monitor
is retained by Defendant (the “Term”).

The Defendant’s Agreement

2, Pursuant to Federal Rule of Criminal Procedure 11(c)}(1)(C), the Defendant agrees
to waive its right to grand jury indictment and to plead guilty to a one-count criminal Information
charging the Defendant with conspiring to: (1) fail to maintain an adequate anti-money laundering
(“AML”) program, contrary to Title 31, United States Code, Sections 5318(h) and 5322, (2) fail
to file accurate Currency Transaction Reports (“CTRs”), contrary to Title 31, United States Code,
Sections 5313 and 5324, and (3) launder monetary instruments, contrary to Title 18, United States
Code, Section 1956(a)(2)(B)\(i), in violation of Title 18, United States Code, Section 371. The
Defendant further agrees to persist in that plea through sentencing and, as set forth below, to
cooperate fully with the Offices in their investigation into the conduct described in this Agreement

and the Statement of Facts attached hereto as Attachment A (“Statement of Facts”).

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3. The Defendant understands that to be guilty of this offense, the following essential
elements of the offense must be satisfied:
a. The essential elements of conspiracy to commit an offense against the United
States, as charged in the Information, are as follows:

i, The Defendant, through its employees, made an agreement to: (1) fail
to maintain an adequate AML program, (2) fail to file accurate CTRs,
and (3) launder monetary instruments; and

ii, The Defendant was a party to or member of that agreement;

iii. The Defendant joined the agreement or conspiracy knowing of its
objective and intending to join together with at least one other alleged
conspirator to achieve that objective; that is, that the Defendant with at
least one other alleged conspirator shared a unity of purpose and the
intent to achieve that common goal or objective, to (1) fail to maintain
an adequate AML program, (2) fail to file accurate CTRs, and
(3) launder monetary instruments; and

iv. At some time during the existence of the agreement or conspiracy, at
least one of its members performed an overt act in order to further the
objectives of the agreement.

b. The elements of the first object of the conspiracy—failure to maintain an
adequate AML program—are as follows:

i. First, the Defendant was a financial institution;

ii. Second, the Defendant failed to establish, implement, and maintain an
adequate AML program; and

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iii, Third, the Defendant acted willfully.

c. The elements of the second object of the conspiracy—failure to file accurate
CTRs—are as follows:

i. First, the Defendant had knowledge of the CTR reporting
requirements;

ii, Second, the Defendant caused or attempted to cause a financial
institution to file a CTR that contained a material omission or
misstatement of fact; and

iii, Third, the Defendant acted with the purpose to evade the transaction
reporting requirements.

d. The elements of the third object of the conspiracy—tlaundering of monetary
instruments—are as follows:

i, First, the Defendant transported, transmitted, or transferred a monetary
instrument or funds;

ii, Second, the transportation, transmittal, or transfer was from a place in
the United States to or through a place outside the United States or to a
place inside the United States from or through a place outside the United
States;

iii. Third, the Defendant knew that the monetary instrument or funds
involved in the transportation, transmission, or transfer represented the
proceeds of some form of unlawful activity; and

iv. Fourth, the Defendant knew that the transportation, transmission, or

transfer was designed in whole or in part to conceal or disguise the

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nature, the location, the source, the ownership, or the control of the
proceeds of the unlawful activity.

4, ‘The Defendant understands and agrees that this Agreement is between the Offices
and the Defendant and does not bind any other division or section of the Department of Justice or
any other federal, state, local, or foreign prosecuting, administrative, or regulatory authority.
Nevertheless, the Offices will bring this Agreement and the nature and quality of the conduct,
cooperation, and remediation of the Defendant, its direct or indirect affiliates, subsidiaries,
branches, and joint ventures, to the attention of other prosecuting, law enforcement, regulatory,
and debarment authorities, if requested by the Defendant.

5, The Defendant agrees that this Agreement will be executed by an authorized
corporate representative. The Defendant further agrees that a resolution duly adopted by the
Defendant’s Board of Directors in the form attached to this Agreement as Attachment B
(“Certificate of Corporate Resolutions”) authorizes the Defendant to enter into this Agreement and
take all necessary steps to effectuate this Agreement on behalf of the Defendant, and that the
signatures on this Agreement by the Defendant and its counsel are authorized by the Defendant’s
Board of Directors.

6. The Defendant agrees that it has the full legal right, power, and authority to enter
into and perform all of its obligations under this Agreement.

7. The Offices enter into this Agreement based on the individual facts and
circumstances presented by this case, including:

a. The nature and seriousness of the offense conduct, as described in the
Statement of Facts, including: (a) the Defendant’s pervasive and systemic failure to maintain an

adequate AML compliance program, including its failure to substantively update its transaction

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monitoring program from at least 2014 to 2022, its failure to monitor trillions of dollars of
transactions from at least 2014 to 2024, and its failure to implement an appropriate AML
compliance training program and adequately address insider risk, all of which resulted in Bank
customers, sometimes aided by five Bank insiders, laundering approximately $671 million through
accounts maintained by the Defendant and created vulnerabilities that allowed the Defendant’s
employees to open and maintain accounts for money laundering networks that moved $39 million
in proceeds through the Defendant; (b) the Defendant's filing of 564 materially inaccurate CTRs,
involving more than $412 million in currency transactions, which omitted the identity of an
individual that the Defendant knew conducted the transactions and thereby impeded law
enforcement; and (c) the Defendant’s conspiracy to commit money laundering, which involved
five Bank employees opening accounts and conducting other account-related activities in exchange
for payments that facilitated the laundering of over $39 million in criminal proceeds from the
United States to Colombia;

b, The pervasiveness of the offense, which involved the Defendant’s
prioritization of growth and the customer experience over compliance; implementation of a flat-
cost year-over-year spending paradigm, including in its AML program, despite changing and
growing AML, risks; and the involvement of employees at al! levels of the Defendant, ranging
from store-level employees who accepted payments to open or maintain accounts involved in
money laundering to senior executive management, including AML leadership, who understood
the Defendant’s failure to adapt its AML program to address evolving risks and the impact of the
flat-cost spending paradigm for the AML program, and repeatedly failed to update and remediate
the AML program, despite the Bank’s consistent growth and expansion of its business in the

United States;

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c, The Defendant did not receive credit for voluntary self-disclosure pursuant
to the Criminal Division Corporate Enforcement and Voluntary Self-Disclosure Policy (“Criminal
Division CEP”) or pursuant to the United States Sentencing Guidelines (“U.S.S.G.” or “Sentencing
Guidelines”) § 8C2.5(g)(1)} because it did not voluntarily and timely disclose to the Offices the
conduct described in the Statement of Facts;

d, The Defendant received credit pursuant to U.S.8.G. § 8C2.5(g)(3) because
it demonstrated recognition and affirmative acceptance of responsibility for its criminal conduct.
The Defendant also received cooperation credit pursuant to the Criminal Division CEP because,
after becoming aware of the Offices’ investigation, TD Bank cooperated with the investigation by,
among other things: reviewing voluminous evidence produced in response to subpoenas, informal
requests, and, in some cases, voluntarily identifying key information related to AML failures,
money laundering, and insider activity, including information about the individuals involved in
the conduct described in the Statement of Facts, which allowed the government to preserve and
obtain relevant evidence; making regular and detailed factual presentations to the Offices; working
with the Offices and the Bank’s regulators to ensure the production of relevant documents to the
Offices; making numerous witnesses available for interviews, including witnesses located outside
of the United States, and deconflicting with the Offices concerning interviews; providing relevant
information related to its internal investigation, including summaries of information received from
internal interviews; identifying numerous incidents of potentially suspicious activity; reviewing
hundreds of hours of Bank surveillance video and identifying portions of interest to the Offices;
providing detailed analyses prepared by external consultants concerning money laundering
through accounts at the Defendant and the involvement of Bank employees in that conduct; and

taking steps to swiftly preserve and produce records and information related to employees involved

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in misconduct, including by securing their worksites to prevent the destruction of evidence.
However, the Defendant’s cooperation was limited in some respects, including: failing to inform
the Offices of concerns expressed to the Defendant, during the course of its internal investigation,
by a third-party financial services company concerning the Colombian money laundering activity
and failing to identify to the Offices a well-known and significant transaction monitoring gap that,
since at least 2008, allowed the Defendant to process trillions of dollars of Automated Clearing
House (“ACH”) and other types of transactions per year without monitoring or reporting.
Additionally, the Defendant rejected requests by the government to voluntarily keep certain
accounts open related to two of the three money laundering networks identified in the Statement
of Facts. Therefore, the Offices determined that a discount of 20 percent of the sentence of a fine
was appropriate pursuant to the Criminal Division CEP;

e. The Offices evaluated potential collateral consequences to innocent third
parties, including the Defendant’s employees, investors, and customers, most of whom played no
role in the criminal conduct, see Principles of Federal Prosecution of Business Organizations,
Justice Manual § 9-28.1100, as well as the remedial measures the Defendant has taken, its stated
commitment to enhance its AML compliance program, and its agreement to retain an independent
compliance monitor, each of which is addressed in greater detail below;

f, The Defendant has engaged and will continue to engage in significant
remedial measures, which are not yet complete or fully tested, including: (1) implementing new
transaction monitoring scenarios to address longstanding, known gaps in its transaction monitoring
system; (ii) enhancing policies and procedures related to the identification of parties involved in
conducting transactions, the collection of the conductors’ identifying information, and reporting

of conductors in CTRs; (iii) terminating, separating, and/or sanctioning certain employees,

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including AML executives, involved in the conduct; and (iv) improving the overall AML
compliance function and increasing its investments in its program, including by hiring competent
and experienced AML compliance employees and executives and making significant investments
in technology and AML systems;

g. The Defendant had an inadequate AML compliance program, including its
policies, procedures, and controls related to transaction monitoring, identification of suspicious
activity, insider risk, and employee training (collectively, the “AML Compliance Program”)
during the period of the conduct described in the Statement of Facts; the Defendant has begun to
enhance and committed to continue enhancing its AML Compliance Program, including, among
other things, ensuring that its AML Compliance Program satisfies the minimum elements set forth
in Attachment C to this Agreement,

h. ‘The Defendant has agreed to retain an independent compliance monitor (the
“Monitor’”) for a period of three years (the “Term of the Monitorship”) to oversee the Defendant’s
compliance remediation and enhancement and has agreed to comply with the monitorship
requirements, as further described in Attachment D to this Agreement. The Offices may extend
the Term of the Monitorship through the Term of the Agreement in their sole discretion. The
Offices may also extend the Term of the Monitorship in the event of a breach of the Agreement;

i. The Defendant has no prior criminal history, but it was subject to regulatory
enforcement actions by the Department of the Treasury’s Financial Crimes Enforcement Network
(“FinCEN”) and the Office of the Comptrolier of the Currency (“OCC”) in September 2013 related
to the Defendant’s insufficient AML controls, some of which relate to the conduct described in the
Statement of Facts, as well as civil resolutions with the U.S. Securities and Exchange Commission

in 2013 for unrelated conduct;

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j. The Defendant has agreed to cooperate with the Offices in any investigation
or prosecution as described in Paragraph 10 below;

k, The Defendant’s parent company, TDBUSH, has also agreed to plead guilty
and pay a criminal penalty of $1,434,013,478.40;

1, The Defendant’s global parent company, TD Bank Group, and U.S. parent
company, TDGUS, have agreed to ensure that the Group cooperates with the Offices in any
investigation or prosecution as described in Paragraph 10 below that the Defendant and TDBUSH
meet their disclosure and compliance obligations under the Agreements, including Attachment C,
by certifying to such in Attachments E and F to this Agreement and executing Attachment G to
this Agreement;

m. Various components of the Group, including the Bank and TDBUSH, have
agreed to enter into concurrent resolutions with the OCC, the Federal Reserve Board of Governors
(the “FRB”), and F inCEN relating to certain conduct described in the Statement of Facts; and

n, Accordingly, based on consideration of (a) through (m) above, the Offices
believe that a guilty plea to Count One of the Information, a criminal fine of $500,000, and
forfeiture of $452,432,302 are sufficient but not greater than necessary to achieve the purposes
described in 18 U.S.C. § 3553.

8. The Defendant agrees to abide by all terms and obligations of this Agreement as
described herein, including, but not limited to, the following:

a. to plead guilty as set forth in this Agreement;

b. to abide by all sentencing stipulations contained in this Agreement;

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c. to appear, through its duly appointed representatives, as ordered for all
court appearances, and obey any other ongoing court order in this matter, consistent with all

applicable U.S. and foreign laws, procedures, and regulations;

d. to commit no further crimes;

e. to be truthful at all times with the Court;

f. to pay the applicable fine and special assessment;

g. to consent to and to pay the applicable forfeiture amount;

h. to cooperate fully with the Offices as described in Paragraph 10;

i. to remediate and enhance its AML Compliance Program, as described in
Paragraphs 24 and 25 and Attachment C; and

j. to retain an independent compliance Monitor to oversee implementation of
the Defendant’s compliance remediation and enhancement as described in Attachment D.

9, Except as may otherwise be agreed by the parties in connection with a particular
transaction, the Defendant agrees that in the event that, during the Term, the Defendant undertakes
any change in corporate form, including if it sells, merges, or transfers business operations that are
material to the Defendant’s consolidated operations, or to the operations of any subsidiaries,
branches, or affiliates involved in the conduct described in the Statement of Facts, as they exist as
of the date of this Agreement, whether such transaction is structured as a sale, asset sale, merger,
transfer, or other change in corporate form, it shall include in any contract for sale, merger, transfer,
or other change in corporate form a provision binding the purchaser, or any successor in interest
thereto, to the obligations described in this Agreement. Prior to such transaction, the purchaser or
successor in interest must agree in writing that the terms and obligations of this Agreement are

applicable in full force to the purchaser or successor in interest. The Defendant agrees that the

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failure to include these provisions in the transaction contract will make any such transaction null
and void. The Defendant shall provide notice to the Offices at least thirty days prior to undertaking
any such sale, merger, transfer, or other change in corporate form. The Offices shall notify the
Defendant prior to such transaction (or series of transactions) if they determine that the
transaction(s) will have the effect of circumventing or frustrating the purposes of this Agreement,
as determined in the sole discretion of the Offices; the Defendant agrees that such transaction(s)
will not be consummated. In addition, if at any time during the Term, the Offices determine in
their sole discretion that the Defendant has engaged in a transaction(s) that has the effect of
circumventing or frustrating the purposes of this Agreement, the Offices may deem it a breach of
this Agreement pursuant to Paragraphs 31-34. Nothing herein shall restrict the Defendant from
indemnifying (or otherwise holding harmless) the purchaser or successor in interest for penalties
or other costs arising from any conduct that may have occurred prior to the date of the transaction,
so long as such indemnification does not have the effect of circumventing or frustrating the
purposes of this Agreement, as determined by the Offices.

10. The Group shall continue to cooperate fully with the Offices in any and all matters
relating to the conduct, individuals, and entities described in this Agreement and the Statement of
Facts as well as any other conduct, individuals, and entities under investigation by MLARS or the
USAO-DNJ at any time during the Term, until the later of the date upon which all investigations
and prosecutions arising out of such conduct are concluded, or the end of the Term. At the request
of the Offices, the Group shall also cooperate fully with any other component of the Department
of Justice and other domestic or foreign law enforcement and regulatory authorities and agencies
in any investigation of the Defendant, its parents, subsidiaries, or its affiliates, or any of its present

or former officers, directors, employees, agents, and consultants, or any other party, in any and all

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matters relating to the conduct described in this Agreement and the Statement of Facts and other
conduct at any time during the Term. The Defendant’s cooperation pursuant to this Agreement is
subject to applicable law and regulations, including bank secrecy, data privacy and national
security laws, as well as valid claims of attorney-client privilege or attorney work product doctrine;
however, the Defendant must provide to the Offices a log of any information or cooperation that
is not provided based on an assertion of law, regulation, or privilege, and the Defendant bears the
burden of establishing the validity of any such assertion. The Defendant agrees that its cooperation
pursuant to this Agreement shail include, but not be limited to, the following:

a. The Defendant represents that it has truthfully disclosed all factual
information with respect to its activities, those of its parents, subsidiaries, and affiliates, and those
of its present and former directors, officers, employees, agents, and consultants relating to the
conduct described in this Agreement and the Statement of Facts, as well as any other conduct under
investigation by the Offices at any time about which the Defendant has any knowledge. The Group
further agrees that it shall timely and truthfully disclose all information with respect to its activities,
those of its parents, subsidiaries, and affiliates, and those of its present and former directors,
officers, employees, agents, and consultants, including any evidence, allegations, and internal or
external investigations about which the Offices may inquire. This obligation of truthful disclosure
includes, but is not limited to, the obligation of the Group to provide to the Offices, upon request,
any document, record, or other tangible evidence about which the Offices may inquire, including
evidence that is responsive to any requests made prior to the execution of this Agreement.

b. Upon request of the Offices, the Group shall designate knowledgeable

employees, directors, officers, agents, consultants, or attorneys to provide to the Offices the

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information and materials described in Paragraph 10 above on behalf of the Group. It is further
understood that the Group must at all times provide complete, truthful, and accurate information.

c. The Group shall use its best efforts to make available for interviews or
testimony, as requested by the Offices, present and former officers, directors, employees, agents,
and consultants of the Defendant. This obligation includes, but is not limited to, sworn testimony
before a federal grand jury or in federal trials, as well as interviews with domestic or foreign law
enforcement and regulatory authorities. Cooperation under this Paragraph shall include
identification of witnesses who, to the knowledge of the Group, may have material information
regarding the matters under investigation,

d. With respect to any information, testimony, documents, records, or other
tangible evidence provided to the Offices pursuant to this Agreement, the Group consents to any
and all disclosures, subject to applicable law and regulations, by the Offices to other governmental
authorities including United States authorities and those of a foreign government of such materials
as the Offices, in their sole discretion, shall deem appropriate.

11. In addition to the cooperation obligations provided for in Paragraph 10 of the
Agreement, during the Term, should the Defendant learn of any evidence or allegation of conduct
by the Defendant, its affiliates, or their employees that may constitute a violation of federal
criminal law, the Defendant shall promptly report such evidence or allegation to the Offices in a
manner and form consistent with local law. Thirty days prior to the expiration of the Term, the
Defendant, TDBUSH, TDGUS, and the Group, by the executives identified in Attachment E to
this Agreement, will certify to the Offices, in the form of executing Attachment E to this
Agreement, that the Defendant and its parents and affiliates have met their disclosure obligations

pursuant to this Paragraph. Each certification will be deemed a material statement and

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representation by the Defendant to the executive branch of the United States for purposes of 18
U.S.C. §§ 1001 and 1519, and it will be deemed to have been made in the judicial district in which
this Agreement is filed.

12. The Defendant agrees that any fine, forfeiture, or restitution imposed by the Court
will be due and payable as specified in Paragraph 21 below, and that any forfeiture or restitution
imposed by the Court will be due and payable in accordance with the Court’s order. The Defendant
further agrees to pay the mandatory special assessment of $400 within ten business days from the
date of sentencing.

The United States’ Agreement

13, In exchange for the guilty plea of the Defendant and the complete fulfillment of all
its obligations under this Agreement, the Offices agree they will not file additional criminal
charges against the Defendant or any of its direct or indirect affiliates, parent companies,
subsidiaries, or joint ventures relating to the conduct described in the Statement of Facts, the
Information filed pursuant to this Agreement. The Offices, however, may use any information
related to the conduct described in the Statement of Facts against the Defendant: (a) in a
prosecution for perjury or obstruction of justice; (b) in a prosecution for making a false statement;
(c) in a prosecution or other proceeding relating to any crime of violence or terrorism-related
offense; or (d) in a prosecution or other proceeding relating to a violation of any provision of Title
26 of the United States Code, This Agreement does not provide any protection against prosecution
for any future conduct by the Defendant or any of its direct or indirect affiliates, parent companies,
subsidiaries, joint ventures, officers, directors, employees, agents, or consultants, whether or not
disclosed by the Defendant pursuant to the terms of this Agreement. This Agreement does not

provide any protection against prosecution of any individuals, regardless of their affiliation with

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the Defendant. The Defendant agrees that nothing in this Agreement is intended to release the
Defendant from any and all of the Defendant’s tax liabilities and reporting obligations for any and
all income not properly reported and/or legally or illegally obtained or derived.
Factual Basis

14, The Defendant is pleading guilty because it is guilty of the charge contained in the
Information. Certain of the facts are based on information obtained from third parties by the United
States through its investigation and described to the Defendant, The Defendant has reviewed and
verified the factual allegations. The Defendant admits, agrees, and stipulates that the factual
allegations set forth in the Information and the Statement of Facts are true, accurate, and correct,
that it is responsible for the acts of its officers, directors, employees, and agents described in the
Infermation and Statement of Facts, and that the Information and Statement of Facts accurately
reflect the Defendant’s criminal conduct. The Defendant stipulates to the admissibility of the
Statement of Facts in any proceeding by the Offices, including any trial, guilty plea, or sentencing
proceeding, and will not contradict anything in the attached Statement of Facts at any such
proceeding.

The Defendant's Waiver of Rights, Including the Right to Appeal

15. Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence 410 limit
the admissibility of statements made in the course of plea proceedings or plea discussions in both
civil and criminal proceedings, if the guilty plea is later withdrawn. The Defendant expressly
warrants that it and the Group and TDGUS, as represented in Attachment G, have discussed these
rules with their counsel and understand them. Solely to the extent set forth below, the Defendant
voluntarily waives and gives up the rights enumerated in Federal Rule of Criminal Procedure 1 1(f)
and Federal Rule of Evidence 410. The Defendant agrees that, effective as of the date the

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Defendant signs this Agreement, it will not dispute the Statement of Facts set forth in this
Agreement, and that the Statement of Facts shall be admissible against the Defendant in any
criminal case involving MLARS and/or the USAO-DNJ and the Defendant, as: (a) substantive
evidence offered by the government in its case-in-chief and rebuttal case; (b) impeachment
evidence offered by the government on cross-examination; and (c) evidence at any sentencing
hearing or other hearing. In addition, the Defendant agrees not to assert any claim under the Federal
Rules of Evidence (including Rule 410 of the Federal Rules of Evidence), the Federal Rules of
Criminal Procedure (including Rule 11 of the Federal Rules of Criminal Procedure), or the United
States Sentencing Guidelines (including U.S.S.G, § 1B1,1(a)) that the Statement of Facts should
be suppressed or is otherwise inadmissible as evidence (in any form). Specifically, the Defendant
understands and agrees that any statements the Defendant makes in the course of its guilty plea or
in connection with the Agreement are admissible against the Defendant for any purpose in any
U.S. federal criminal proceeding if, even though the Offices have fulfilled all of their obligations
under this Agreement and the Court has imposed the agreed-upon sentence, the Defendant
nevertheless withdraws its guilty plea.

16. The Defendant is satisfied that the Defendant’s attorneys have rendered effective
assistance. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as provided in this Agreement. The Defendant waives its right to
discovery. The Defendant further understands that the rights of criminal defendants include the
following:

(a) the right to plead not guilty and to persist in that plea;

(b) the right to a jury trial;

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(c) the right to be represented by counsel—and if necessary, have the court appoint
counsel—-at trial and at every other stage of the proceedings;

(d) the right at trial to confront and cross-examine adverse witnesses, to be protected
from compelled self-incrimination, to testify and present evidence, and to compel the attendance
of witnesses; and

(e} pursuant to Title 18, United States Code, Section 3742, the right to appeal the
sentence imposed.

Nonetheless, the Defendant knowingly waives the right to appeal or collaterally attack the
conviction and any sentence at or below the statutory maximum described below (or the manner
in which that sentence was determined) on the grounds set forth in Title 18, United States Code,
Section 3742, or on any ground whatsoever except those specifically excluded in this Paragraph,
in exchange for the concessions made by the Offices in this Agreement. This Agreement does not
affect the rights or obligations of the United States as set forth in Title 18, United States Code,
Section 3742(b). The Defendant hereby waives all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including without limitation any
records that may be sought under the Freedom of Infermation Act, Title 5, United States Code,
Section 552, or the Privacy Act, Title 5, United States Code, Section 552a. The Defendant waives
all defenses based on the statute of limitations and venue with respect to any prosecution related
to the conduct described in the Statement of Facts or the Information, including any prosecution
that is not time-barred on the date that this Agreement is signed in the event that: (a) the conviction
is later vacated for any reason; (b) the Defendant violates this Agreement; or (c) the plea is later
withdrawn, provided such prosecution is brought within one year of any such vacatur of

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conviction, violation of the Agreement, or withdrawal of plea, plus the remaining time period of
the statute of limitations as of the date that this Agreement is signed. The Defendant further waives
the right to raise on appeal or on collateral review any argument that the statutes to which the
Defendant is pleading guilty are unconstitutional and/or the admitted conduct does not fall within
the scope of the statutes. The Offices are free to take any position on appeal or any other post-
judgment matter. The parties agree that any challenge to the Defendant’s sentence that is not
foreclosed by this Paragraph will be limited to that portion of the sentencing calculation that is
inconsistent with (or not addressed by) this waiver. Nothing in the foregoing waiver of appellate
and collateral review rights shall preclude the Defendant from raising a claim of ineffective
assistance of counsel in an appropriate forum.
Penalty

17, The statutory maximum sentence that the Court can impose for a violation of Title
18, United States Code, Section 371, as charged in the Information, is: a fine of up to $500,000 or
twice the gross pecuniary gain or gross pecuniary loss resulting from the offense, whichever is
greatest (Title 18, United States Code, Section 3571(c)(3)); five years’ probation (Title 18, United
States Code, Section 3561(c)(1)); and a mandatory special assessment of $400 (Title 18, United
States Code, Section 3013(a)(2)(B)); for the conspiracy to violate 31 U.S.C. §§ and 5313 and 5324,
forfeiture of all property, real or personal, involved in the offense and any property traceable
thereto (Title 31, United States Code, Section 5317(c)(1)(A)); and for the conspiracy to violate
Title 18, United States Code, Section 1956(a)(2)(B)(i), the Court must impose forfeiture to the
United States of any property, real or personal, which constitutes or is derived from proceeds
traceable to the conspiracy to commit such offense (Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461).

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18. The parties agree that the Court should impose the statutory maximum $500,000
fine on the Defendant. The parties further agree that the conspiracy to violate Title 31, United
States Code, Sections 5313 and 5324 involved property in an amount of $412,876,589, which is
the amount that must be forfeited to the United States. The parties also agree that the conspiracy
to violate Title 18, United States Code, Section 1956(a)(2)(B)(i) involved property in an amount
of $39,555,713, which is the amount that must be forfeited to the United States.

Sentencing Recommendation

19. The parties agree that, pursuant to United States v. Booker, 543 U.S, 220 (2005),
the Court must determine an advisory sentencing guideline range pursuant to the United States
Sentencing Guidelines. The Court will then determine a reasonable sentence within the statutory
range after considering the advisory sentencing guideline range and the factors listed in Title 18,
United States Code, Section 3553(a). The parties’ agreement herein to any guideline sentencing
factors constitutes proof of those factors sufficient to satisfy the applicable burden of proof. The
Defendant also understands that if the Court accepts this Agreement, the parties are in agreement
that the Court is bound by the sentencing provisions in Paragraphs 17 and 18.

20. ‘The Offices and the Defendant agree that a faithful application of the U.S.S.G., to
determine the applicable fine range yields a total offense level of 38 based on U.S.S.G. §§ 2X1.1,
281.3, 3D1.2, and 3D1.3. The guideline calculation begins with a base offense level of 6 for the
CTR-related conspiracy, U.S.S.G. §§ 2X1.1(a) and 281.3(a)(2); 28 levels are added based on the
value of funds, U.S.S.G. § 281.3(a)(2); two levels are added because the Defendant knew or
believed funds were proceeds of unlawful activity or were intended to promote unlawful activity,
US.S.G. § 281.3(b)(1); and two levels are added because the Defendant was convicted of an
offense under subchapter II of chapter 53 of title 31, United States Code and committed the offense

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as part of a pattern of unlawful activity involving more than $100,000 in a 12-month period,
ULS.S.G. § 281.3(b)(3). The sentence of a fine is calculated as follows:

a, Base Fine, Based upon U.S.S.G, § 8C2.4(a)(1), the base fine is
$ 150,000,000 (corresponding to the Defendant’s offense level of 38)

b, Culpability Score. Based upon U.S.S.G. § 8C2.5, the culpability score is
10, calculated as follows:

(a) Base Culpability Score 5

(b)(1) Individual within the high-level personnel participated in,
condoned, or was willfully ignorant of the offense + 5

(c)(2) Civil Adjudication within five years +2

(g)(2) Cooperation, Acceptance -2

TOTAL ‘10
c. Calculation of Fine Range:

Base Fine $150,000,000

Multipliers 2.0 (min)/4.0 (max)

Fine Range $306,000,000 (min)/

$600,000,000 (max)

d. Statutory Maximum Fine:

Up to $500,000 or twice the gross pecuniary gain or gross pecuniary loss
resulting from the offense, whichever is greatest (18 U.S.C. § 3571(c)(3))

21. Pursuant to Rule 11{c)(1)(C) of the Federal Rules of Criminal Procedure, the
Offices and the Defendant agree that the following represents the appropriate disposition of the
case:

a. Disposition. Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the parties agree that

the appropriate disposition of this case is as set forth herein, and agree to jointly recommend that

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the Court, at a hearing to be scheduled at an agreed upon time, impose a sentence requiring the
Defendant to pay a criminal fine and criminal forfeiture, as set forth below.

b. Criminal Fine. Considering the $500,000 statutory maximum, the parties
agree that the appropriate total criminal fine is $500,000 (“Total Criminal Fine”). The Defendant
agrees that it shall pay the Total Criminal Fine to the Court no later than ten business days after
entry of the judgment by the Court.

c, Criminal Forfeiture. The Defendant hereby admits that the facts set forth in

the Statement of Facts establish that the sum of $452,432,302 (the “Money Judgment”) is
forfeitable to the United States pursuant to Title 31, United States Code, Section 5317(c)(1), and
Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461,
The Offices will accept the Money Judgment in full satisfaction of criminal forfeiture. The
Defendant admits the forfeiture allegation of the Information with respect to the second object of
the conspiracy, agrees that it failed to file accurate CTRs involving property in the amount of
$412,876,589, and agrees to forfeit to the United States, pursuant to Title 31, United States Code,
Section 5317(c)(1), a sum of money equal to $412,876,589 in United States currency. The
Defendant further admits the forfeiture allegation of the Information with respect to the third object
of the conspiracy, agrees that the amount of proceeds traceable to such conspiracy is $39,555,713,
and agrees to forfeit to the United States, pursuant to Title 18, United States Code, Section
981(a)(1)(C) and Title 28, United States Code, Section 2461, a sum of money equal to $39,555,713
in United States currency, The Offices agree that payments made by the Group in connection with
its concurrent settlement of a related regulatory action brought by the FRB in the amount of
$123,500,000 shall be credited against the Money Judgment. The Offices will accept a payment
of $328,932,302 (the “Criminal Forfeiture Payment”) in full satisfaction of the Money Judgment.

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The Defendant agrees that it shall make the Criminal Forfeiture Payment by wire transfer pursuant
to instructions provided by the Offices no later than ten business days after entry of the Money
Judgment by the Court. It is further understood that any forfeiture of the Defendant’s assets shall
not be treated as satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the
Court may impose upon the Defendant in addition to forfeiture. The Defendant consents to the
entry of the Consent Preliminary Order of Forfeiture/Money Judgment annexed hereto as
Attachment H and agrees that the Consent Preliminary Order of Forfeiture/Money Judgment shall
be final as to the Defendant at the time it is ordered by the Court.

d. Mandatory Special Assessment. The Defendant shall pay to the Clerk of the

Court for the United States District Court for the District of New Jersey within ten days of the date
of sentencing the mandatory special assessment of $400.

e. Term of Probation. The parties agree to recommend that the Court impose

a term of probation for the period of the Term of this Agreement, pursuant to Title 18, United
States Code, Sections 3551(c)(1) and 3561(c)(1). The Defendant will continue on probation until
it has served the full five years, uniess the Court approves early termination of probation. The
parties agree, pursuant to U.S.S.G. § 8D1.4, that the term of probation shall include as conditions
the obligations set forth in Paragraphs 8(a)—(h), and Paragraphs 21(b), (c), and (e). A condition of
probation shall be that the Defendant retain a Monitor, as provided in Paragraph 7(h). However,
the condition of probation is limited to the retention of the Monitor—not oversight of the Monitor
or the Company’s compliance with the Monitor’s recommendations. The Monitor will report to
and be overseen by the Offices. The Monitor’s selection process, mandate, duties, review, and
certification as described in Paragraphs 26-30 and Attachment D, and the Defendant’s compliance

obligations as described in Paragraphs 24 and 25 and Attachment C, are not conditions of

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probation. In the event the Offices find, in their sole discretion pursuant to Paragraph 7(h), that
there exists a change in circumstances sufficient to eliminate the need for the Monitor or extend
the term of the Monitor during the term of probation, the parties will submit a joint motion to
modify the special conditions of probation.

22. This Agreement is presented to the Court pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(C). The Defendant understands that, if the Court rejects this Agreement, the
Court must: (a) inform the parties that the Court rejects the Agreement; (b) advise the Defendant’s
counsel that the Court is not required to follow the Agreement and afford the Defendant the
opportunity to withdraw its plea; and (c)} advise the Defendant that if the plea is not withdrawn,
the Court may dispose of the case less favorably toward the Defendant than the Agreement
contemplated. The Defendant further understands that if the Court refuses to accept any provision
of this Agreement, neither party shall be bound by the provisions of the Agreement.

23. The Defendant and the Offices waive the preparation of a Pre-Sentence
Investigation Report (“PSR”) and intend to seek a sentencing by the Court within thirty days of
the Rule 11 hearing in the absence of a PSR. The Defendant understands that the decision whether
to proceed with the sentencing proceeding without a PSR is exclusively that of the Court. In the
event the Court directs the preparation of a PSR, the Offices will fully inform the preparer of the

PSR and the Court of the facts and law related to the Defendant’s case.

Compliance Program, Independent Compliance Monitor, and Reporting

24, ‘The parties have agreed to the compliance, monitoring, and reporting requirements
set forth in Attachments C and D, The Defendant represents that it will continue to implement and
enhance its AML Compliance Program such that it meets, at a minimum, the elements set forth in

Attachment C, Such programs shall be designed to detect and prevent violations of the BSA, laws

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prohibiting money laundering, and other laws prohibiting illicit finance through the Defendant’s
operations, as defined in Attachment C. Thirty days prior to the expiration of the Term, the
Defendant, by its Chief Executive Officer and BSA Officer, TD Bank Group’s Chief Executive
Officer and Chief AML Officer, and TDGUS’s Chief Executive Officer and Chief Risk Officer,
will certify to the Offices, in the form of executing the document attached as Attachment F to this
Agreement, that the Defendant has met its compliance obligations pursuant to this Agreement.

25, In order to address any deficiencies in its AML Compliance Program, the
Defendant represents that it has undertaken, and will continue to undertake in the future, in a
manner consistent with all of its obligations under this Agreement, a review of its existing
compliance and ethics programs, policies, procedures, systerns, and internal controls regarding
compliance with the BSA, laws prohibiting money laundering, and other laws prohibiting illicit
finance, Where necessary and appropriate, the Defendant agrees to adopt new controls or otherwise
modify its AML Compliance Program in order to ensure that it develops and maintains an effective
and risk-based AML program that incorporates relevant policies, procedures, and internal systems
and controls designed to effectively detect and deter violations of the BSA, laws prohibiting money
laundering, and other laws prohibiting illicit finance. The AML Compliance Program will include,
at a minimum, the elements set forth in Attachment C, The Offices, in their sole discretion, may
consider the reports by the independent Monitor appointed pursuant to Attachment D in assessing
the Defendant’s AML Compliance Program.

26, Promptly after the Offices’ selection pursuant to Paragraph 28 below, the
Defendant agrees to retain the Monitor. The Monitor’s duties and authority, and the obligations of
the Defendant with respect to the Monitor and the Offices, are set forth in Attachment D, which is

incorporated by reference into this Agreement, No later than thirty days after the execution of this

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Agreement, the Defendant shall submit a written proposal to the Offices identifying three Monitor

candidates, and, at a minimum, providing the following:

a.

A description of each candidate’s qualifications and credentials in support of
the evaluative considerations and factors listed below;

A written certification by the Defendant that the Defendant and its subsidiaries
will not employ or be affiliated with the Monitor for a period of not less than
three years from the date of the termination of the monitorship;

A written certification by each of the candidates that he/she is not a current or
recent (i,e,, within the prior two years) employee, agent, or representative of the
Defendant and holds no interest in, and has no relationship with, the Defendant,
its subsidiaries, affiliates, or related entities, or its employees, officers, or
directors;

A written certification by each of the candidates that he/she has notified any
clients that the candidate represents in a matter involving the Offices (or any
other Department component) handling the Monitor selection process, and that
the candidate has either obtained a waiver from those clients or has withdrawn
as counsel in the other matter(s); and;

A statement identifying the Monitor candidate that is the Defendant’s first,

second, and third choice to serve as the Monitor.

27, The Monitor candidates or their team members shall have, at a minimum, the

following qualifications:

a.

Demonstrated expertise with respect to the BSA and other applicable laws
requiring AML programs, including experience counseling or advising on

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effective AML programs at financial institutions;

b. Experience designing and/or reviewing corporate compliance programs,
policies, procedures, and controls, including AML compliance programs and
compliance programs implemented at financial institutions;

c. The ability to access and deploy resources as necessary to discharge the
Monitor’s duties as described in the Agreement; and

d. Sufficient independence from the Defendant and its subsidiaries to ensure
effective and impartial performance of the Monitor’s duties as described in the
Agreement.

28. The Offices retain the right, in their sole discretion, to choose the Monitor from
among the proposed candidates, though the Defendant may express its preference(s) among the
candidates, Monitor selections shall be made in keeping with the Department’s commitment to
diversity and inclusion, If the Offices determine, in their sole discretion, that any of the candidates
are not, in fact, qualified to serve as the Monitor, or if the Offices, in their sole discretion, are not
satisfied with the candidates proposed, the Offices reserve the right to request that the Defendant
nominate additional candidates. In the event the Offices reject any proposed Monitors, the
Defendant shall propose additional candidates within twenty business days after receiving notice
of the rejection so that three qualified candidates are proposed. This process shall continue until a
Monitor acceptable to both parties is chosen. The Offices and the Defendant will use their best
efforts to complete the selection process within sixty days of the execution of this Agreement. The
Offices retain the right to determine that the Monitor should be removed, if in the Offices’ sole
discretion, the Monitor fails to conduct the monitorship effectively, fails to comply with this

Agreement, or no longer meets the qualifications outlined in Paragraph 27 above. If the Monitor

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resigns, is removed, or is otherwise unable to fulfill his or her obligations as set out herein and in
Attachment D, the Defendant shall within twenty business days recommend a pool of three
qualified Monitor candidates from which the offices will choose a replacement, following the
Monitor selection process outlined above.

29. The Monitor’s term shali be three years from the date on which the Monitor is
retained by the Defendant, subject to extension or early termination in the Offices’ sole discretion
as described in Paragraph 7(h).

30, The Monitor’s powers, duties, and responsibilities, as well as circumstances that
may support an extension of the Monitor’s term, are set forth in Attachment D. The Defendant
agrees that the Defendant and its subsidiaries, parents, branches, and affiliates will not employ or
be affiliated with the Monitor or the Monitor’s firm for a period of not less than three years from
the date on which the Monitor’s term expires, nor will the Defendant and its subsidiaries, parents,
branches, and affiliates discuss with the Monitor or the Monitor’s firm the possibility of further
employment or affiliation during the Monitor’s term. Should the Defendant be required to retain
an independent compliance monitor or similar person with responsibility for overseeing or
evaluating the Defendant’s AML Compliance Program in connection with any parallel civil. or
regulatory resolution, the Defendant agrees to consult with the Offices regarding the selection of
that person and before retaining that person to ensure, among other things, coordination with the
Monitor pursuant to this Agreement. The Offices agree that the Monitor appointed pursuant to this
Agreement may also serve in such a role.

Breach of Agreement

31. Ifthe Defendant (a) commits any felony under U.S. federal law; (b) provides in
connection with this Agreement deliberately false, incomplete, or misleading information; (c) fails

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to cooperate as set forth in Paragraph 10 of this Agreement; (d) fails to implement a compliance
program at the Defendant as set forth in Paragraphs 24 and 25 of this Agreement and Attachment
C and complete the monitorship as set forth in Paragraphs 7(h) and 26~30 of this Agreement and
Attachment D; (e) commits any acts that, had they occurred within the jurisdictional reach of the
United States, would be a violation of federal money laundering laws or the Bank Secrecy Act; or
(f) otherwise fails specifically to perform or to fulfill completely each of the obligations under the
Agreement, regardless of whether the Offices become aware of such a breach after the Term, the
Defendant entity shall thereafter be subject to prosecution for any federal criminal violation of
which the Offices have knowledge, including, but not limited to, the charge in the Information
described in Paragraphs 2 and 3, which may be pursued by the Offices in the U.S. District Court
for the District of New Jersey or any other appropriate venue. Determination of whether the
Defendant or TD Bank has breached the Agreement and whether to pursue prosecution of the
Defendant shall be in the Offices’ sole discretion. In determining a breach in the Offices’
discretion, the Offices will take into consideration, among other factors, whether the Defendant
voluntarily disclosed any criminal violations, its cooperation in any investigation and remediation
of the conduct, the severity and pervasiveness of the conduct, and the seniority of the employees
involved, Any such prosecution may be premised on information provided by the Defendant or its
personnel. Any such prosecution relating to the conduct described in the Information and the
attached Statement of Facts or relating to conduct known to the Offices prior to the date on which
this Agreement was signed that is not time-barred by the applicable statute of limitations on the
date of the signing of this Agreement may be commenced against the Defendant, or the Group or
TDGUS pursuant to Attachment G, notwithstanding the expiration of the statute of limitations,

between the signing of this Agreement and the expiration of the Term plus one year. Thus, by

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signing this Agreement, the Defendant agrees that the statute of limitations with respect to any
such prosecution that is not time-barred on the date of the signing of this Agreement shail be tolled
for the Term plus one year. The Defendant gives up all defenses based on the statute of limitations,
any claim of pre-indictment delay, or any speedy trial claim with respect to any such prosecution
or action, except to the extent that such defenses existed as of the date of the signing of this
Agreement. In addition, the Defendant agrees that the statute of limitations as to any violation of
federal law that occurs during the term of the cooperation obligations provided for in Paragraph
10 of the Agreement will be tolled from the date upon which the violation occurs until the earlier
of the date upon which the Offices are made aware of the violation or the duration of the Term
plus five years, and that this period shall be excluded from any calculation of time for purposes of
the application of the statute of limitations.

32, In the event that the Offices determine there is a breach of this Agreement, the
Offices agree to provide the Defendant with written notice of such breach prior to instituting any
prosecution resulting from such breach. Within thirty days of receipt of such notice, the Defendant
shall have the opportunity to respond to the Offices in writing to explain the nature and
circumstances of such breach, as weil as the actions the Defendant has taken to address and
remediate the situation, which explanation the Offices shall consider in determining whether to
pursue prosecution of the Defendant.

33, In the event that the Offices determine there has been a breach of this Agreement:
(a) all statements made by or on behalf of the Defendant to the Offices or to the Court, including
the Information and the Statement of Facts, and any testimony given by the Defendant before a
grand jury, a court, or any tribunal, or at any legislative hearings, whether prior or subsequent to
this Agreement, and any leads derived from such statements or testimony, shall be admissible in

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evidence in any and all criminal proceedings brought by the Offices against the Defendant; and
(b) the Defendant shali not assert any claim under the United States Constitution, Rule 11(f) of the
Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or any other
federal rule that any such statements or testimony made by or on behalf of the Defendant prior or
subsequent to this Agreement, or any leads derived therefrom, should be suppressed or are
otherwise inadmissible. The decision as to whether conduct or statements of any current director,
officer, employee, or any person acting on behalf of or at the direction of the Defendant will be
imputed to the Defendant for the purpose of determining whether the Defendant has violated any
provision of this Agreement shall be made in the sole discretion of the Offices.

34. The Defendant acknowledges that the Offices have made no representations,
assurarices, or promises concerning what sentence may be imposed by the Court if the Defendant
breaches this Agreement and this matter proceeds to judgment, including whether the statutory
maximum for these offenses represents the maximum penalty that could be imposed in any future
prosecution of Defendant. ‘The Defendant further acknowledges that any such sentence is solely
within the discretion of the Court and that nothing in this Agreement binds or restricts the Court
in the exercise of such discretion or precludes the Offices from arguing for any higher sentence.

Public Statements by the Defendant

35, The Defendant expressly agrees that it shall not, through present or future parents,
affiliates, attorneys, officers, directors, employees, agents, or any other person authorized to speak
for the Defendant, make any public statement, in litigation or otherwise, contradicting the
acceptance of responsibility by the Defendant set forth above or the facts described in the
Information and Statement of Facts. Any such contradictory statement shall, subject to cure rights

of the Defendant described below, constitute a breach of this Agreement, and the Defendant

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thereafter shall be subject to prosecution as set forth in Paragraphs 31-34 of this Agreement. The
decision as to whether any public statement by any such person contradicting a fact contained in
the Information or Statement of Facts will be imputed to the Defendant for the purpose of
determining whether it has breached this Agreement shall be made in the sole discretion of the
Offices. If the Offices determine that a public statement by any such person contradicts in whole
or in part a statement contained in the Information or Statement of Facts, the Offices shall so notify
the Defendant, and the Defendant may avoid a breach of this Agreement by publicly repudiating
such statement(s) within five business days after notification. The Defendant shall be permitted to
raise defenses and to assert affirmative claims in other proceedings relating to the matters set forth
in the Information and Statement of Facts provided that such defenses and claims do not contradict,
in whole or in part, a statement contained in the Information or Statement of Facts, This Paragraph
does not apply to any statement made by any present or former officer, director, employee, or
agent of the Defendant in the course of any criminal, regulatory, or civil case initiated against such
individual, unless such individual is speaking on behalf of the Defendant.

36. The Defendant agrees that if it or any of its direct or indirect subsidiaries or
affiliates makes any affirmative public statement in connection with this Agreement, including via
press release, press conference remarks, or a scripted statement to investors, the Defendant shall
first consult the Offices to determine (a) whether the text of the release or proposed statements at
the press conference are true and accurate with respect to matters between the Offices and the

Defendant; and (b) whether the Offices have any objection to the release or statement.

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Complete Agreement

37, This document, including its attachments, states the full extent of the Agreement

between the parties. There are no other promises or agreements, express or implied. Any

modification of this Agreement shall be valid only if set forth in writing in a supplemental or

revised plea agreement signed by all parties.

AGREED:
FOR TD BANK, N.A.:

Date: {of to [303-4

Date: 1 | je [Joa

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Cynthia Adaths
General Counsel

TD Bank, N.A.

By: Dyrceette. é Netet

Loretta E, Lynch, Esq.
Paul, Wei bY Rifkind, Wharton & Garrison

Counsel for TD Bank, N.A.

FOR THE DEPARTMENT OF JUSTICE:

MARGARET A. MOESER

PHILIP R. SELLINGER

Chief, Money Laundering and Asset Recovery United States Attorney

Section
Criminal Division
U.S, Department of Justice

NB

District of New Jersey
U.S. Department of Justice

| Ce —

D: Zachary Adams
Cheisea R. Rooney
Trial Attorneys

Mark J. Pesce
Angelica M. Sinopole
Assistant United States Attorneys

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STATEMENT OF COUNSEL

As counsel for the Defendant, I have discussed all plea offers and the terms of this plea
agreement with the Defendant, have fully explained the charge to which the Defendant is pleading
guilty and the necessary elements, all possible defenses, stipulations, waivers, fine, forfeiture,
sentencing, and the consequences of a guilty plea to a felony. Based on these discussions, I have
no reason to doubt that the Defendant is knowingly and voluntarily entering into this agreement
and entering a plea of guilty. I know of no reason to question the Defendant’s competency to make
these decisions. If, prior to the imposition of sentence, | become aware of any reason to question
the Defendant’s competency to enter into this plea agreement or to enter a plea of guilty, 1 will
immediately inform the Court.

DATED: _(ctshey jo 398.4

Det tte eC Th, A,

ORETTA E. LYNCH
NICOLAS BOURTIN
AISLING O’SHEA

Counsel for Defendant

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